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UNITED. STERN BISHMGHEAY COURT

EASTERN DISTIWEMD OF WISCONSIN
0-CR-1
ae 2008-160

UNITED STATES OF AMERICA,
Plain ERK OF COURT Case No. 20-CR-
[18 U.S.C. §§ 1951(a) and (b), and
924(c)]

 

Vv.

TRAVON POWELL,
Defendant.

 

INDICTMENT

 

COUNT ONE
THE GRAND JURY CHARGES THAT:
le At all times material to this Indictment, Dollar Tree, located at 5310 W.
Maxwell Place in Milwaukee, Wisconsin, was a business engaged in the purchase and
sale of articles and commodities in interstate commerce.

2. On or about July 24, 2020, in the State and Eastern District of Wisconsin,

TRAVON POWELL
did unlawfully obstruct, delay, and affect commerce and the movement of articles and
commodities in commerce, by robbery, in that the defendant did unlawfully take and
obtain United States currency belonging to Dollar Tree from and in the presence of an
employee of Dollar Tree, against his will, by means of actual and threatened force,
violence, and fear of injury.

In violation of Title 18, United States Code, Sections 1951(a), (b), and 2.

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COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

On or about July 24, 2020, in the State and Eastern District of Wisconsin,

TRAVON POWELL

did knowingly use, carry, and brandish a firearm during and in relation to a crime of
violence, namely, Interference with Commerce by Robbery, as alleged in Count One of
this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(ii).

 

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CO THREE

THE GRAND JURY FURTHER CHARGES THAT:

a: At all times material to this Indictment, Dollar Tree, located at 5310 W.
Maxwell Place, in Milwaukee, Wisconsin, was a business engaged in the purchase and
sale of articles and commodities in interstate commerce.

2, On or about July 28, 2020, in the State and Eastern District of Wisconsin,

TRAVON POWELL
did unlawfully obstruct, delay, and affect commerce and the movement of articles and
commodities in commerce, by robbery, in that the defendant did unlawfully take and
obtain United States currency belonging to Dollar Tree from and in the presence of an
employee of Dollar Tree, against his will, by means of actual and threatened force,
violence, and fear of injury.

All in violation of Title 18, United States Code, Sections 1951(a) and (b).

 

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COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:
On or about July 28, 2020, in the State and Eastern District of Wisconsin,
TRAVON POWELL
did knowingly use, carry, and brandish a firearm during and in relation to a crime of
violence, namely, Interference with Commerce by Robbery, as alleged in Count Three of
this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

 

FOREPERSON
Date: !aizo

 

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United States Attorney

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